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"" 2:04cR20140-o1-Mi WD OF TN MEMPHis`

ER|C BALK|N
Clifton Harvie|. Jr., CJA
Defense Attorney
50 North Front Street, #850
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the lndictment on December 21, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section M Offense Number(s)
Conc|uded

18 U.S.C. § 1951 |nterference With Commerce by 01/14/2004 1
Threats or Violence, Aiding and
Abetting

18 U.S.C. § 924(c) Use and Carry of Firearm During and 01/14/2004 2
in Relation to a Crime of Vio|ence

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Viotims Restitution Act of 1996.

Count 3 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 410_43~3318 Date of imposition of Sentence:
Defendant’s Date of Birth; 12/21/1982 April 15, 2005
Deft’s U.S. lVlarsha| No.: 19570-076

Defendant's l\/lailing Address:
2233 Kentucky
Nlemphis, TN 38109 ~

This document entered on the docket heet' in compliance \
With nine 55 and/or 32{13) irrich on 15 Q5 /; q ./'

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see QQ
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J NPH|PPS l\/lcCALLA
U TED ATESD|STR|CTJUDGE

April [ § , 2005

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Case No: 2:04CR20140-01-N|| Defendant Name: Eric BALK|N Page 3 of 5
||V|PR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 92 Months (or 7 Years and 8 lVlonths) as to Count
1; 84 Months (or 7 Years) as to Count 2. Counts 1 and 2 to be servedconsecutively
with each other for a total term of incarceration of 176 Months (or 14 Years and 8
l\/lonths).

The Court recommends to the Bureau of Prisons: The defendant participate in
the 500-hour intensive drug rehabilitation program while incarcerated

The defendant is remanded to the custody of the United States Niarshal.

RETURN

i have executed this judgment as foliows:

 

 

 

 

 

 

 

Defendant delivered on to
at ,with a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:04CR20140~01-N|| Defendant Name: Eric BALK|N Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1; 3 years as to Count 2; Counts 1 and 2 to be
supervised concurrently for a total term of supervision of 3 years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody ofthe Bureau of Prisons.

While on supervised release, the defendant shall not commit anotherfedera|l state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month',

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controifed substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case NOZ 2104CR20140~01-|V|| Defendant Name: EfiC BALK|N Page 5 Of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or persona! history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

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The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the Probation
Office.

3. The defendant shall seek and maintain full-time employmentl

4. The defendant shall submit to mental health testing and treatment programs as directed by the

Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendantsha|l paythefol|owing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution

$200.00

The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

     

 

UNlTsED`ATEs DlsTRIC COURT -WETERN DSTRIC OFTENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
ease 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

T. Ciifton Harviei

LAW OFFICE OF CLIFTON HARVIEL
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Ste. 850

i\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorabie J on MeCaila
US DISTRICT COURT

